UNITED STATES DISTRICT COURT A
FOR THE MIDDLE DISTRICT OF TENNESSEE og +? 2018. DB
NORTHEASTERN DIVISION Dy ee:

 

Sarah Beth Cain,
Plaintiff, NO. 2:17-cv-00055
CHIEF JUDGE CRENSHAW
Vv. MAGISTRATE JUDGE FRENSLEY

Tennessee Technological University

The Director Of

The Office of the Dean of Students (in his
or her official capacity)

The President of

The Office of Student Affairs (in his or
her official capacity)

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Defendants.

 

PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO FILE OBJECTIONS TO
MAGISTRATE JUDGE’S REPORT AND RECOMMENDATIONS AND MOTION FOR DE
NOVO DETERMINATION

 

Plaintiff respectfully submits this motion for extension of time to file objections to
Magistrate Judge’s Report and Recommendation anda motion for a de novo
determination. Magistrate Judge Frensley filed a Report and Recommendations (“Report”)
regarding Defendants’ Motion to Dismiss on August 8, 2018. Docket No. 24. Plaintiff is
proceeding pro se in all matters related to this action and therefore requires additional time to
adequately research legal theories and case law referenced in the Report. Magistrate Frensley’s
Report includes citations to more than twenty court cases and Plaintiff requests additional time to

review these cases in order to prepare a concise document that addresses all key distinctions in

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the circumstances of these cases. According to Local Rule 72.02(a) and Federal Rules of Civil
Procedure 72(b), Plaintiff has fourteen (14) days after service of the Report to file any written
objections with the District Court. Due to the number of cases cited and Plaintiff's status as a pro
se litigant, Plaintiff respectfully requests a fourteen-day extension for filing her objections and
motion for de novo determination, from the original due date of August 22, 2018 to September 5,

2018.

Respectfully signed this 19'" day of August 2018

Sarah Beth Cain

 

Plaintiff

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(Date)
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(Signature)

(Printed Name)
500 Dru Valism Red.
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Apt. E30@
_Cookevillu .TN 3596
(015) YRS~-34 54

(Address and Telephone Number)

 

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